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                      THE UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                             NEWARK DIVISION


   Maria-Victoria Gicala,                         Civil Action No.


                            Plaintiff,
                                                  COMPLAINT
            – against–

   Capital One Bank (USA), National
   Association and TransUnion, LLC,

                            Defendants.


                                         COMPLAINT

        Plaintiff, Maria-Victoria Gicala (hereinafter “Plaintiff”), by and through her

 attorneys, the Law Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint

 against Defendants, Capital One Bank (USA), National Association (“Capital One”) and

 TransUnion, LLC (“TransUnion”) alleges as follows:

                                    INTRODUCTION

       1. This is an action for damages brought by an individual consumer for Defendants’

          violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (the

          “FCRA”), the New Jersey Fair Credit Reporting Act, N.J. Stat. §56:11‐28, et seq.

          (the “NJ FCRA”), and other claims related to unlawful credit reporting practices.

          The FCRA and NJ FCRA prohibits furnishers and credit reporting agencies

          (“CRAs”) from falsely and inaccurately reporting consumers’ credit information.




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                                        PARTIES

      2. Plaintiff, Maria-Victoria Gicala, is an adult citizen of New Jersey, domiciled in

         Augusta, New Jersey.

      3. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

      4. Defendant Capital One is a “furnisher” of consumer credit information as that

         term is used in Section 1681s-2 of the FCRA. Defendant Capital One does

         business throughout the country and in the state of New Jersey.

      5. Defendant TransUnion is a limited liability company, doing business throughout

         the country and in the state of New Jersey. TransUnion is a “consumer reporting

         agency” as defined in Section 1681a(f) of the FCRA. Trans Union is one of the

         largest CRAs in the world.



                               JURISDICTION AND VENUE

      6. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

         § 1331 because the rights and obligations of the parties in this action arise out of

         15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an action to enforce

         any liability created under 15 U.S.C. § 1681 may be brought in any appropriate

         United States District Court, without regard to the amount in controversy.

      7. Venue is proper pursuant to 28 U.S.C. § 1391 (b)(2) because a substantial part

         of the events and omissions giving rise to Plaintiff’s claims occurred in New

         Jersey.




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                                FACTUAL ALLEGATIONS

      8. Defendant Capital One issued an account ending in 7978 to Plaintiff. The

         account was routinely reported on Plaintiff’s consumer credit report.

      9. The consumer report at issue is a written communication of information

         concerning Plaintiff’s credit worthiness, credit standing, credit capacity,

         character, general reputation, personal characteristics, or mode of living which

         is used or for the purpose of serving as a factor in establishing the consumer’s

         eligibility for credit to be used primarily for personal, family, or household

         purposes as defined by 15 U.S.C. § 1681a(d)(1) of the FCRA.

      10. On or about June 14, 2019, Plaintiff and Capital One entered into a settlement

         agreement for the above referenced account. A copy of the settlement agreement

         is attached hereto as Exhibit A.

      11. Pursuant to the terms of the settlement, Plaintiff was required to make monthly

         payments totaling $1,470.17 to settle and close her Capital One account.

      12. Plaintiff, via her debt settlement representative, timely made the requisite

         settlement payments. Proofs of these payments are attached hereto as Exhibit B.

      13. However, over months later, Plaintiff’s account continued to be negatively

         reported.

      14. In particular, on a requested credit report dated October 20, 2021, Plaintiff’s

         Capital One account was reported with a status of “CHARGE OFF,” a balance

         of $1,303.00 and a past due balance $1,303.00. The relevant portion of Plaintiff’s

         credit report is attached hereto as Exhibit C.




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      15. This tradeline was inaccurately reported. As evidenced by the settlement

         agreement and proof of payment, the account was settled for less than the full

         balance and must be reported as settled with a balance of $0.00.

      16. On or about October 21, 2021, Plaintiff, via her attorney at the time, notified

         Defendants of a dispute with completeness and/or accuracy of the reporting of

         Plaintiff’s Capital One account. A redacted copy of the dispute letter is attached

         hereto as Exhibit D.

      17. Therefore, Plaintiff disputed the accuracy of the derogatory information reported

         by Capital One to credit reporting agencies in accordance with 15 U.S.C. § 1681i

         of the FCRA.

      18. In November of 2021, Plaintiff requested updated credit reports for review. The

         tradeline for Plaintiff’s Capital One account remained inaccurate, as Defendants

         failed to correct the inaccuracy. The relevant portion of the November 2021

         credit report is attached hereto as Exhibit E.

      19. Upon information and belief, TransUnion did not notify Capital One of the

         dispute by Plaintiff in accordance with the FCRA and NJ FCRA.

      20. Alternatively, if TransUnion did notify Capital One, Capital One failed to

         properly investigate and delete the tradeline or properly update the tradeline on

         Plaintiff’s credit reports.

      21. If Capital One had performed a reasonable investigation of Plaintiff’s dispute,

         Plaintiff’s Capital One account would have been updated to reflect a “settled”

         status with a balance of $0.00.




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      22. Despite the fact that Capital One has promised through its subscriber agreements

         or contracts to accurately update accounts, Capital One has nonetheless willfully,

         maliciously, recklessly, wantonly, and/or negligently failed to follow this

         requirement as well as the requirements set forth under the FCRA, which has

         resulted in the intended consequences of this information remaining on

         Plaintiff’s credit reports.

      23. Defendants failed to properly maintain and failed to follow reasonable

         procedures to assure maximum possible accuracy of Plaintiff’s credit

         information and Plaintiff’s credit reports, concerning the account in question,

         thus violating the FCRA and the NJ FCRA. These violations occurred before,

         during, and after the dispute process began with TransUnion.

      24. At all times pertinent hereto, Defendants were acting by and through their agents,

         servants and/or employees, who were acting within the scope and course of their

         employment, and under the direct supervision and control of the Defendants

         herein.

      25. At all times pertinent hereto, the conduct of Defendants, as well as that of their

         agents, servants and/or employees, was malicious, intentional, willful, reckless,

         negligent and in wanton disregard for federal law and the rights of the Plaintiff

         herein.




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                             FIRST CAUSE OF ACTION
                              (Fair Credit Reporting Act)

      26. Plaintiff reasserts and incorporates herein by reference all facts and allegations

         set forth above.

      27. Trans Union is a “consumer reporting agency,” as codified at 15 U.S.C. §

         1681a(f).

      28. Capital One is reporting inaccurate credit information concerning Plaintiff to one

         or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

      29. Plaintiff notified Defendants of a dispute on the account’s completeness and/or

         accuracy, as reported.

      30. Capital One failed to complete an investigation of Plaintiff’s written dispute and

         provide the results of an investigation to Plaintiff and the credit bureaus within

         the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).

      31. Capital One failed to promptly correct the inaccurate information on Plaintiff’s

         credit reports in violation of 15 U.S.C. § 1681s-2(b).

      32. TransUnion failed to delete information found to be inaccurate, reinserted the

         information without following the FCRA, or failed to properly investigate

         Plaintiff’s disputes.

      33. TransUnion failed to maintain and failed to follow reasonable procedures to

         assure maximum possible accuracy of Plaintiff’s credit reports, concerning the

         account in question, violating 15 U.S.C. § 1681e(b).

      34. As a result of the above violations of the FCRA, Plaintiff suffered actual damages

         in one or more of the following categories: lower credit score, denial of credit,

         embarrassment and emotional distress caused by the inability to obtain financing

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         for everyday expenses, rejection of credit card application, higher interest rates

         on loan offers that would otherwise be affordable and other damages that may be

         ascertained at a later date.

      35. As a result of the above violations of the FCRA, Defendants are liable to Plaintiff

         for actual damages, punitive damages, statutory damages, attorney’s fees and

         costs.



                           SECOND CAUSE OF ACTION
                         (New Jersey Fair Credit Reporting Act)

      36. Plaintiff reasserts and incorporates herein by reference all facts and allegations

         set forth above.

      37. TransUnion failed to delete information found to be inaccurate, reinserted the

         information without following the NJ FCRA, or failed to properly investigate

         Plaintiff’s disputes.

      38. TransUnion failed to complete an investigation of Plaintiff’s written dispute and

         provide the results of an investigation to Plaintiff within the 30-day statutory

         period as required by NJ FCRA, N.J. Stat. §C.56:11-36f(1).

      39. TransUnion failed to delete information found to be inaccurate, reinserted the

         information without following the NJ FCRA, or failed to properly investigate

         Plaintiff’s disputes as required by NJ FCRA, N.J. Stat. §C.56:11-36(a) and N.J.

         Stat. §C.56:11-36 (e).

      40. As a result of the above violations of the NJ FCRA, Plaintiff suffered actual

         damages in one or more of the following categories: lower credit score and credit

         rating, denial of credit, embarrassment and emotional distress caused by the

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            inability to obtain financing for everyday expenses, rejection of credit card

            application, higher interest rates on loan offers that would otherwise be

            affordable and other damages that may be ascertained at a later date.

       41. As a result of the above violations of the NJ FCRA, Defendants are liable to

            Plaintiff for actual damages, punitive damages, statutory damages, attorney’s

            fees and costs.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants as

 follows:

        1. That judgment be entered against Defendants for actual damages pursuant
           to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;
        2. That judgment be entered against Defendants for punitive damages
           pursuant to 15 U.S.C. § 1681n;
        3. That the Court award costs and reasonable attorney's fees pursuant to 15
           U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;
        4. That judgment be entered against Defendants for actual damages pursuant
           to N.J. Stat. §C.56:11-38 or alternatively, N.J. Stat. §C.56:11-39;
        5. That judgment be entered against Defendants for punitive damages
           pursuant to N.J. Stat. §C.56:11-38;
        6. That the Court award costs and reasonable attorney's fees pursuant to N.J.
           Stat. §C.56:11-38 or alternatively, N.J. Stat. §C.56:11-39; and
        7. That the Court grant such other and further relief as may be just and proper.

                              DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands

 trial by jury in this action of all issues so triable.

                                  Respectfully Submitted,

                                  Law Offices of Robert S. Gitmeid & Associates, PLLC

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